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MOW 3007-1.1   (4/2021)



                          IN THE UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI

IN RE:                                                    )
                                                          )
INTERSTATE UNDERGROUND WAREHOUSE                          )
     AND INDUSTRIAL PARK, INC.                            )      Case. No. 21-40834
                                                          )      Chapter 11
                               Debtor.                    )

                                   OBJECTION TO CLAIM

       Comes now Movant Interstate Underground Warehouse and Industrial Park, Inc., and
hereby objects to the Proof of Claim filed by creditor CCC Capital Investments, LLC, in the
amount of $33,000.00, and filed on December 2, 2021. The court claim number is 31.

     Your claim may be reduced, modified, or eliminated. You should read this
document carefully and discuss it with your attorney, if you have one.

   Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
   Objection in which to file a Response, if you do not want the court to eliminate or change
   your claim. The Response shall be in writing and state why the claim should be allowed as
   filed. If a Response is filed, the Court will schedule a hearing. If no timely Response is
   filed, the Court will enter an Order sustaining the Objection to the Claim. Parties not
   represented by an attorney shall mail a Response to the Court at U.S. Bankruptcy Court, 400
   E. 9th St., Room 1510, Kansas City, MO 64106. Debtor(s) not represented by an attorney
   must be served a copy of the Response by regular mail. If your Response is mailed, it must
   be early enough so that the court will receive it on or before 30 days after service of the
   Objection.

The basis for the objection is as follows: (PLEASE CHECK ONLY THE APPLICABLE
BOXES)

☒      The claim should be disallowed entirely because the Promissory Note is executed by
Seven at KC LLC and not the Debtor The Debtor did not guaranty this alleged debt.

Dated: 12/21/2021                                 KRIGEL & KRIGEL, P.C.


                                                   /s/ Erlene W. Krigel
                                                  Erlene W. Krigel, MO #29416
                                                  4520 Main St., Ste. 700
                                                  Kansas City, MO 64111
                                                  Telephone: (816) 756-5800
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                                                       Fax: (816) 756-1999
                                                       Email: ekrigel@krigelandkrigel.com
                                                       ATTORNEYS FOR DEBTOR

                                 CERTIFICATE OF SERVICE

I Erlene Krigel hereby certify that a true and correct copy of the Objection to Claim was mailed
to CCC Capital Investments, LLC by first class mail this 21st day of December, 2021:

Cyrus Contractor, Member                               CCC Capital Investments, LLC
CCC Capital Investments LLC                            9339 Tomashaw lane
%Colin N. Gotham                                       Lenexa, KS 66219
Evans & Mullinix, P.A.
7225 Renner Road, Ste. 200
Shawnee, KS 66217


And to all parties in interest and creditors requesting notice electronically via the court’s
Electronic System.


Dated: 12/21/2021                                              /s/ Erlene W. Krigel
                                                               Erlene W. Krigel

Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

Instructions: Complete all parts of the form and serve on the affected parties



ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
